DOCUMENTS UNDER SEAL
                       Case 3:19-mj-71169-MAGClear
                                                Document
                                                   Form  5 Filed 08/13/19 Page 15of 1
                                                              TOTAL TIME (m ins):
M AGISTRATE JUDGE                          DEPUTY CLERK                             REPORTER/FTR
M INUTE ORDER                              Stephen Ybarra                           11:09 - 11:14
MAGISTRATE JUDGE                           DATE                                     NEW CASE          CASE NUMBER
Elizabeth D. Laporte                       August 13, 2019                                           19-mj-71169-MAG
                                                     APPEARANCES
DEFENDANT                                  AGE     CUST  P/NP   ATTORNEY FOR DEFENDANT                     PD.     RET.
Jose Diaz                                          Y          P       Daniel Paul Blank                    APPT.
U.S. ATTORNEY                              INTERPRETER                             FIN. AFFT            COUNSEL APPT'D
Ross E Weingarten                          Melinda Basker - Spanish                SUBMITTED

PROBATION OFFICER           PRETRIAL SERVICES OFFICER                 DEF ELIGIBLE FOR              PARTIAL PAYMENT
                             Katrina Chu                              APPT'D COUNSEL                OF CJA FEES
                                       PROCEEDINGS SCHEDULED TO OCCUR
       INITIAL APPEAR             PRELIM HRG       MOTION           JUGM'T & SENTG                           STATUS
                                                                                                             TRIAL SET
       I.D. COUNSEL               ARRAIGNMENT               BOND HEARING            IA REV PROB. or          OTHER
                                                                                    or S/R
       DETENTION HRG              ID / REMOV HRG            CHANGE PLEA            PROB. REVOC.              ATTY APPT
                                                                                                             HEARING
                                                    INITIAL APPEARANCE
        ADVISED                 ADVISED                  NAME AS CHARGED              TRUE NAME:
        OF RIGHTS               OF CHARGES               IS TRUE NAME                 Luis Fernando Vargas Valle
                                                       ARRAIGNM ENT
       ARRAIGNED ON                ARRAIGNED ON               READING W AIVED              W AIVER OF INDICTMENT FILED
       INFORMATION                 INDICTMENT                 SUBSTANCE
                                                        RELEASE
      RELEASED            ISSUED                    AMT OF SECURITY          SPECIAL NOTES              PASSPORT
      ON O/R              APPEARANCE BOND           $                                                   SURRENDERED
                                                                                                        DATE:
PROPERTY TO BE POSTED                           CORPORATE SECURITY                        REAL PROPERTY:
    CASH    $


      MOTION           PRETRIAL                DETAINED           RELEASED       DETENTION HEARING            REMANDED
      FOR              SERVICES                                                  AND FORMAL FINDINGS          TO CUSTODY
      DETENTION        REPORT                                                    W AIVED
ORDER REMOVED TO THE DISTRICT OF
                                                              PLEA
   CONSENT                      NOT GUILTY                   GUILTY                  GUILTY TO COUNTS:
   ENTERED
   PRESENTENCE                  CHANGE OF PLEA               PLEA AGREEMENT          OTHER:
   REPORT ORDERED                                            FILED
                                                       CONTINUANCE
TO:                               ATTY APPT               BOND                     STATUS RE:
8/21/19                           HEARING                 HEARING                  CONSENT                 TRIAL SET

AT:                               SUBMIT FINAN.              PRELIMINARY           CHANGE OF               STATUS
                                  AFFIDAVIT                  HEARING               PLEA
10:30 AM                                                     _____________
BEFORE HON.                       DETENTION                  ARRAIGNMENT            MOTIONS                JUDGMENT &
                                  HEARING                                                                  SENTENCING
EDL
       TIME W AIVED               TIME EXCLUDABLE            IDENTITY /            PRETRIAL                PROB/SUP REV.
                                  UNDER 18 § USC             REMOVAL               CONFERENCE              HEARING
                                  3161                       HEARING
                                                 ADDITIONAL PROCEEDINGS




                                                                                          DOCUMENT NUMBER:
